                  Case 3:08-cr-00001-DHB-BKE Document 756 Filed 05/13/15 Page 1 of 1
                                                  Pursumlto l8 U.S C $ 3582(c)(2)
                                          Reduction
                          Motionfor SenteDce
AO247(10111) O.derRegarding                                                                                             PageI of2


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                                                     UNITEDSTATESDISTRICTCOURT
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                                                                                                                          ilrYt3 Pttl: 36
                                                          SouthernDistrict of Georgia
                                                                 DubiinDivision
                    United Statesof America
                               v.
                                                                             C a s e N o :3 : 0 8 C R 0 0 0 0 1 - 2 3
                              Roy Bums
                                                                             USM No: 136'12-021
DateofOriginal Judgment:      March 26,2009                                  CharlesC. Butler
DateofPreviousAmended Judgment:                                              Defendant's Attorney
(UseDate of Last AmendedJudgmentif Any)

                     Order RegardingMotion for SentenceReductionPursuantto 18 U.S.C'$ 3582(c)(2)

      Uponmotionof !the defendant         l-l theDirectorof theBureauof PrisonsIthe courtunder18U.S.C.
$ 35S2(c)(2)for a reductionin the termof imprisonment imposedbasedon a guidelinesentencingrangethathas
subsequently beenloweredandmaderetroactiveby theUnitedStatesSentencing      Commissionpursuantto 28 U.S.C.
g 994(u),andhavingconsidered    suchmotion,andtakingintoaccount                    setforthat USSG$ I B 1.10and
                                                                  thepolicystatement
thesentencing factorssetfofih in l8 U.S.C.$ 3553(a),to theextentthattheyareapplicable'

lT ls ORDEREDrhatthemolionis:
                                                                              (asreflected
                                                                of imprisonment
                                        previouslyimposedsentence                       inthetastitdsnent
f, nENtfU. ! CnANfE'l andthe defendant's
             iss ec, Of    monthsis reducedto


                                            (Couplete Parts I and II of Page 2 u'hen motion is grqnted)




Except as otherwiseprovided above,all provisionsofthe judgment dated
IT IS SO OR.DERED.
                              ll-
orderDare:                5l I 3l 15


Effective Date:
                                                                              Dudley H. Bowen,Jr.
                     N o v e m b e r1 . 2 0 1 5                              -United StatesDistrict Judse
                      0f di|ferentfron ordetdate)                                             Prnreanante*aTtlif,-
